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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
Kathryn Mayorga, Case No. 2:19-CV-00168-JAD-CWH
Plaintiff,
vs.
Cristiano Ronaldo
AFFIDAVIT OF STATUS
Defendant. FOREIGN SERVICE ITALY

 

|, Norma P. McMahan, being duly sworn says: That at all times herein Affiant was and is a
citizen of the United States, over 18 years of age, and not a party to or interested in the
proceeding in which this affidavit is made. Affiant affirms that she has specialized in service of
process for the state of Nevada, the United States and Internationally for more than 15 years.

The United States and Italy are both signatories to the Convention on the Service Abroad of
Judicial and Extrajudicial Documents in Civil or Commercial Matters performed at the Hague,
November 15, 1965. Affiant affirms that the documents in the case, Summons in a Civil
Action; and Complaint were translated to Italian, and submitted to the Central Authority in
Rome Italy, on or about March 22, 2019. Important to note is that the residence address for the
defendant was not obtained until March 22, 2019. Service was requested in accordance with
Hague Article 5 protocols. The service packet (Italian and English version of documents and
instructions for service) were received at the Central Authority in Rome, Italy on March 25,
2019. Affiant affirms that service was requested to the defendant, Cristiano Ronaldo, at the
following addresses:

Residence: Toto-Casa
Corso Alberto Picco
10131 Torino TO, Italy
Employer: c/o Juventus
Via Druento nr 175
10151 Torino, Italy

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The Hague Service Convention does not require nor does it impose an obligatory time frame
for service completion; consequently, requests for status updates are not always recognized
and/or available. Experience has shown that it can take an average of 6 months for a service
request to be completed and certificate of service to be returned. However, it is important to
note that service can take longer. It is recommended that an extension be requested to allow
for ample time for service abroad. Affiant affirms that information regarding status and/or

progress of the service request will be communicated promptly as information is received.

 

 

CA
Norma P. McMahan #R-003875
Legal Process Service, State Lic. 604
724 S. 8" St., Las Vegas, NV 89101
Subscribed and Sworn to before me
this 5th day of April

  
   

 

 

 
 

. NOTARY PUBLIC
a STATE OF N

32 County of cone
fy LISA ANNE WHARTON
Appt. No. 16-2934-4

 
     
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